










	



NUMBER 13-08-00425-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






PRENTICE WARE,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On Appeal from the 36th District Court 


of San Patricio County, Texas.






MEMORANDUM OPINION


	

Before Chief Justice Valdez, Justices Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	Appellant, Prentice Ware, attempts to appeal his conviction for aggravated robbery. 
The trial court has certified that this "is a plea-bargain case, and the defendant has NO
right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On July 7, 2008, this Court notified appellant's counsel of the trial court's certification
and ordered counsel to: (1) review the record; (2) determine whether appellant has a right
to appeal; and (3) forward to this Court, by letter, counsel's findings as to whether appellant
has a right to appeal, or, alternatively, advise this Court as to the existence of any
amended certification.

	On September 25, 2008, counsel filed a letter brief with this Court.  Counsel's
response does not establish that the certification currently on file with this Court is incorrect
or that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.

							PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this the 2nd day of October, 2008. 





	


